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                                 UNITED STATES DISTRlCT                   COURT
                                           DISTRlCT OF MARYLAND



       CHAMBERS   OF                                                                    IQI WEST LOMBARD STREET
    J. FREDERJCK MOTZ                                                                  BALTIMORE, MARYLAND 212QI
UNITED STATES DISTRICT JUDGE                                                                    (410) 962-0782
                                                                                             (410) 962-2698 FAX




                                                        October 21,2014

 MEMO TO COUNSEL RE: RIC Theatre Management Corp. v. Metro Movies, et al.
                     Civil No. JFM-13-984




 Dear Counsel:

         I have reviewed the memoranda submitted in connection with Metro Movies, LLC
 motion for reconsideration (document 51) and RIC Theatres Management Corporation's motion
 to reconsider (document 48).

         Both motions are denied. Assuming that adequate grounds were stated for me to
 reconsider my prior rulings, I am satisfied that my prior rulings were correct.

         Despite the informal nature of this letter, it should be flagged as an opinion and docketed
 as an order.




                                                        Very truly yours,




                                                        J. F: ederick Motz
                                                        United States District Judge




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